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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                   GALVESTON DIVISION

                                         §
ANDREA O’ROURKE, individually and on §
behalf of similarly situated individuals §
                                         §
                   Plaintiff,            §
                                         §
v.                                       §                 CIVIL ACTION NO. 3:20-cv-00271
                                         §
LANDRY’S CRAB SHACK INC. d/b/a           §
BOARDWALK INN                            §
                                         §
                 Defendants              §

              PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S
                 MOTION TO DISMISS AND COMPEL ARBITRATION

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW ANDREA O’ROURKE (“Plaintiff”), and files her Response to Defendant’s

Motion to Dismiss and Compel Arbitration, and in support would respectfully show this Court as

follows:

                                                 I.
                                             LEGAL ISSUES

        Defendant is claiming that it is a subsidiary of Landry’s. Through its Director of Human

Resources, Landry’s Inc. who is not a party to this case is taking the position that it is entitled to an

“evergreen” arbitration agreement. They are expecting all former employees who sign an arbitration

agreement with a company that is a subsidiary with Landry’s to remain bound by it should they ever end

their employment and work for any other employers that may be affiliated with Landry’s. They carry this

expectation while failing to get clear consent from the employee by following the necessary process of

entering into a separate arbitration agreement. They do not make these terms clear to the employees

entering their employment agreement.



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                                           II.
                                       BACKGROUND

       Plaintiff Andrea O’Rourke (“Ms. O’Rourke”) started her employment as a waitress at a

restaurant going by the name of Landry’s Seafood House. The company that owns and operates

the restaurant is Landry’s Inc. Ms. O’Rourke worked as a server at Landry’s Seafood House from

October 23, 2018, to mid-December of 2018. When Ms. O’Rourke filled out the job application

for Landry’s Seafood House on October 23, 2018, she was not given a copy of the arbitration

agreement.   1
                 On October 25, 2018, Ms. O’Rourke signed a “Receipt and Acknowledgement of

Summary Plan Description” which included the “Arbitration Acknowledgment”2 In December of

2018, Plaintiff quit her waitress job and left Landry’s Seafood House. She applied for and secured

a position at the nearby hotel going by the name of Boardwalk Inn. The company that owns and

operates the hotel that hired Plaintiff is Landry’s Crab Shack Inc. This hotel, Boardwalk Inn, is

the employer she is suing in this lawsuit, not the restaurant she previously worked at. Boardwalk

Inn did not provide Ms. O’Rourke with an arbitration agreement.       The Arbitration Agreement

ECF No. 8-1 and the Receipt of Acknowledgement ECF No. 8-5 were for the restaurant job at

Landry’s Seafood House, not for the hotel job at Boardwalk Inn. Defendant does not have any

proof that they provided her with an arbitration agreement. On December 7, 2018, Ms. O’Rourke

completed a job application at Boardwalk Inn. She was not given a copy of any arbitration

agreement3 from Boardwalk Inn. When Ms. O’Rourke accepted the front desk position at

Boardwalk Inn she severed her relationship with Landry’s Seafood House.




1
  See Exhibit 1 Andrea O’Rourke Declaration para nos. 3 and 4
2
  See Exhibit 1 Andrea O’Rourke Declaration para no. 5
3
  See Exhibit 1 Andrea O’Rourke Declaration para no. 9
                                                2
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         Through the entirety of her employment with Boardwalk Inn, Ms. O’ Rourke never saw an

Arbitration Agreement for Boardwalk Inn and did not know one existed4. Ms. O’Rourke has never

seen or read the arbitration agreement for her job at the Boardwalk Inn5. No one at the hotel ever

told Ms. O’Rourke there was an arbitration agreement or where she could get a copy6. Ms.

O’Rourke never agreed to the terms of the arbitration agreement for her hotel job at the Boardwalk

Inn7.

         Boardwalk Inn’s job application does not mention the scope of the arbitration,

collective, or class waiver. This language was found in her job application at the hotel. ECF

No. 8-4




         The job application alone refers to the company’s arbitration agreement and that “a

manager will provide a copy of the Agreement to me prior to commencement of employment.”




4
  See Exhibit 1 Andrea O’Rourke Declaration para no. 10
5
  See Exhibit 1 Andrea O’Rourke Declaration para no. 11
6
  See Exhibit 1 Andrea O’Rourke Declaration para no. 12
7
  See Exhibit 1 Andrea O’Rourke Declaration para no. 13
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                                         III.
                                   LEGAL BACKGROUND

       In ruling on a motion to compel arbitration, the court must first determine whether the

parties agreed to arbitrate the dispute at issue. Carey v. 24 Hour Fitness, USA, Inc., 669 F.3d 202,

205 (5th Cir. 2012). The Court must determine (1) whether there is a valid agreement to arbitrate

between the parties; and (2) whether the dispute in question falls within the scope of that

agreement. Id. The liberal federal policy favoring arbitration does not apply to the determination

of whether there is a valid contract to arbitrate; instead, courts look to state law principles that

govern the formation of contracts. Rodgers-Glass v. Conroe Hasp. Corp., CIV.A. H-14-3300,

2015 WL 4190598, at *5 (S.D. Tex. July 10, 2015) (Citing In re Odyssey Healthcare, Inc., 310

S.W.3d 419, 424 (Tex. 2010)). To establish that a valid arbitration agreement exists, the employer

must show the employee received notice of the arbitration policy and accepted it. Big Bass Towing

Co. v. Akins, 409 S.W.3d 835, 838 (Tex. App. - Dallas 2013, no pet.). The party attempting to

compel arbitration has the burden of proving that a valid arbitration agreement exists. Id.

Arbitration is a matter of contract, and a party cannot be required to submit to arbitration any

dispute which she has not agreed to submit. Akin, 409 S.W.3d at 838 (emphasis added).

       An arbitration agreement is unenforceable if the clause was a product of fraud, coercion,

or such grounds as exist at law or in equity for revocation of the contract. Id. (Citing

Freudensprung v. Offshore Tech. Servs., Inc., 379 F.3d 327, 341 (5th Cir. 2004)). Courts may

consider the procedural and substantive unconscionability of an arbitration agreement to evaluate

its enforceability. Servo Corp. Intern. v. Lopez, 162 S.W.3d 801, 809 (Tex. App. - Corpus Christi

2005, no pet.). "A contract is unenforceable if, 'given the parties' general commercial background

and the commercial needs of the particular trade or case, the clause involved is so one-sided that

it is unconscionable under the circumstances existing when the parties made the contract. ,,, In re


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Poly-Am., L.P., 262 S.W.3d 337,348 (Tex. 2008) (Quoting FirstMerit Bank, 52 S.W.3d 749, 757

(Tex. 2001)) (emphasis added). Whether a contract is unconscionable is determined in light of a

variety of factors aimed at preventing oppression and unfair surprise. SW Bell Tel. Co. v.

DeLanney, 809 S.W.2d 493, 498 (Tex. 1991).

                                        IV.
                                ARGUMENT AND AUTHORITY

       A.      The Parties Did Not Agree to Arbitrate this Dispute

       Defendant has not produced sufficient evidence to carry its burden of showing that

Plaintiff was put on notice of Crab Shack’s arbitration policy. As an initial matter, the

Agreement that Defendant attached to its Motion as Exhibit C (ECF NO. 8-3) is dated October

25, 2018 and corresponds with Ms. O’Rourke’s October 23, 2018 job application at a restaurant.

That document was provided to Ms. O’Rourke by a different employer and corporate entity over

at Landry’s Seafood House. Crab Shack never gave Ms. O’Rourke an arbitration

acknowledgment form or a copy of the arbitration agreement when she worked for them at the

Boardwalk Inn. (Exhibit 1) The arbitration agreement at Landry’s Seafood House contains the

following definition section.




“Exhibit A” ECF No. 8-1

       To a layperson, the arbitration agreement does not mention or refer to Boardwalk Inn.

Ms. O’Rourke declares that she did not receive this arbitration agreement. (Exhibit 1). The

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Texas Supreme Court has "stressed the importance of notice" to the employee of an employer's

arbitration policy. In re Dallas Peterbilt, Ltd., L.L.P., 196 S.W.3d 161, 162 (Tex. 2006). If an

employer seeking to compel arbitration does not provide sufficient evidence that the employee

received notice of an arbitration policy, the employer's motion to compel arbitration according to

that policy may be denied. See Akin, 409 S.W.3d at 841-42 (upholding denial of an employer's

motion to compel arbitration where the employer failed to adduce sufficient proof that its

employee had notice of its arbitration policy). As the moving party, Defendant must provide

evidence that the company gave Ms. O’Rourke the arbitration agreement to her or explained the

wider breath they are now asserting to her when she was a waitress. While Defendant’s

declaration states that both locations in which Plaintiff was employed are related entities and

bound by the Mutual Agreement to Arbitrate, neither the declarant nor anyone else explained

that to Ms. O’Rourke she applied for a waitress job in October of 2018. (Exhibit 1) No one at the

restaurant or the hotel told Ms. O’Rourke that the agreements she signed at the restaurant as a

waitress would apply at her future job at the Boardwalk Inn. (Exhibit 1). Crab Shack has failed to

establish that Ms. O’Rourke received notice of and assented to an arbitration agreement.

       Boardwalk Inn did not give Ms. O’Rourke an Arbitration Agreement. Ordinary contract

principles require a "meeting of the minds" between the parties for an agreement to be valid.

Louisville &N.R. Co. v. Kentucky, 161 U.S. 677, 692,16 S. Ct. 714,40 L.Ed. 849 (1896). The

FAA does not require a party to arbitrate when they have not agreed to do so, and arbitration

under the FAA is a matter of consent, not coercion. Am. Heritage Life Ins. Co. v. Lang, 321 F.3d

533,538 (5th Cir. 2003) (Quoting Volt Infor. Scis. V. Bd. Of Trs., 489 U.S. 468, 478-79,109 S.

Ct. 1248, 103 L.Ed.2d 488 (1989)). Consent is the essence of every valid contract. Id. (Quoting

French v. Shoemaker, 14 Wall. 314, 81 U.S. 314,333,20 L.Ed. 852 (1871)). Where a party



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misrepresents facts, acts in less than good faith, or has notice of another party's ignorance, failure

to inform the other party may be regarded as fraud in the inducement. Id. (Citing Southern Nat'l

Bank v. Crateo, 458 F.2d 688,693 (5th Cir. 1972)). Plaintiff does not remember receiving the

arbitration acknowledgment form an arbitration agreement when she worked at Landry’s

restaurant. Plaintiff did not receive or sign an arbitration acknowledgment form or a copy of the

arbitration during or after the job application process for the hotel job at the Boardwalk Inn.

(Exhibit 1)

        If Defendant wants to extend an arbitration agreement from one entity to another, then

they should have gotten clear consent from Ms. O’Rourke. "Under standard contract principles,

the presence or absence of a party's signature on a written contract is relevant to determining

whether there was an intent for an agreement to be binding." Firstlight Fed. Credit Union v.

Loya, 478 S.W.3d 157, 167 (Tex. App.—El Paso 2015, no pet.) (citing Wright v. Hernandez, 469

S.W.3d 744, 756 (Tex. App.—El Paso 2015, no pet.)). "Arbitration under the [FAA] is [*5] a

matter of consent, not coercion." Volt Info. Scis., Inc. v. Bd. of Trustees of Leland Stanford

Junior Univ., 489 U.S. 468, 469, 109 S. Ct. 1248, 103 L. Ed. 2d 488 (1989). "[T]he FAA 'does

not require parties to arbitrate when they have not agreed to do so,' and its purpose is to make

arbitration agreements 'as enforceable as other contracts, but not more so.'" Weekley Homes, L.P.

v. Rao, 336 S.W.3d 413, 419 (Tex. App.—Dallas 2011, pet. denied) (quoting Roe v. Ladymon,

318 S.W.3d 502, 510 (Tex. App.—Dallas 2010, no pet.)). Although public policy favors

arbitration, arbitration is also a creature of contract. In Estate of Guerrero, 465 S.W.3d 693, 703

(Tex. App.—Houston [14th Dist.] 2015, pet. denied) (citing In re Bunzl USA, Inc., 155 S.W.3d

202, 209 (Tex. App.—El Paso 2004, orig. proceeding)). Thus, "[i]n deciding whether the parties

have agreed to arbitrate, we do not resolve doubts or indulge a presumption in favor of



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arbitration." Id. Ms. O’Rourke never consented or agree to arbitrate this case and did not have

notice that any arbitration agreement with Landry’s Seafood House would extend to her new

employment at the Boardwalk Inn. (Exhibit 1). There was no meeting of the minds sufficient to

give rise to Ms. O’Rourke’s assent to the arbitration agreement. By extension, Defendant cannot

establish that Ms. O’Rourke agreed to waive her right to assert a class or collective action.

        B.      Defendant failed to meet the burden of proof.

        To support its assertion that it gave Ms. O’Rourke a copy of the arbitration agreement,

Defendant provided a declaration from Ms. Laura Jasso. "An affidavit must disclose the basis

on which the affiant has personal knowledge [*9] of the facts asserted." Akin, 409 S.W.3d at 841

(citing Radio Station KSCS v. Jennings, 750 S.W.2d 760, 762 (Tex. 1988)). "Affidavits not based

on personal knowledge are not competent evidence; the affidavit must affirmatively show a basis

for such knowledge." Id. (citing Southtex 66 Pipeline Co. v. Spoor, 238 S.W.3d 538, 542-43

(Tex. App.—Houston [14th Dist.] 2007, pet. denied)). Ms. Jasso’s Affidavit is devoid of basic

factual support on how she knows that a specific employee received specific documents at a

specific time. The affidavit fails to affirmatively show any basis for Mr. Jasso's purported

personal knowledge. Ms. Jasso’s declaration does not when if any Ms. O’Rourke was given a

copy of the arbitration agreement. Ms. Jasso did not personally observe Ms. O’Rourke getting a

copy of the arbitration agreement or oversaw the effort to notify Ms. O’Rourke of the company’s

arbitration agreement and to sign the acknowledgment form. The affidavit does not state that

anyone at Landry’s Seafood House or Boardwalk Inn gave Ms. O’Rourke a copy of the

arbitration agreement or explained that signing an arbitration acknowledgment at the restaurant

would extend to the hotel. Ms. Jasso’s declaration states that both locations used the same

application, which provides a notice to applicants that if hired, as a condition of employment the

applicant will be required to agree to the Company's Agreement to Arbitrate Claims and that

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such agreement includes a class and collective action. When they hired Ms. O’Rourke at the

Boardwalk Inn, the Defendant did not follow their process and failed to give Ms. O’Rourke an

arbitration agreement and arbitration acknowledgment form.

                              V.
  EVEN IF THE COURT COMPELS ARBITRATION, THE COURT SHOULD STAY,
                  RATHER THAN DISMISS, THIS CASE.

        The Federal Arbitration Act provides that the proper procedure after entry of an order

referring a dispute to arbitration is to stay the case. See 9 U.S.C. § 3. Moreover, a dismissal with

prejudice is additionally unwarranted because it could arguably bar claims from proceeding even

in arbitration and because the arbitrator may yet conclude that some or all of Ms. O’Rourke’s

claims are not subject to arbitration and may be litigated in court.

WHEREFORE, PREMISES CONSIDERED, Defendant Crab Shack’s Motion to Dismiss and

to Compel Arbitration should be in all things DENIED. Plaintiff also requests any such other and

further relief, general or special, at law or in equity, to which Plaintiff is justly entitled.

                                                                 Respectfully Submitted,

                                                                 TRAN LAW FIRM


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 8, 2020, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system, which will send notice of electronic filing to all counsel

registered in this case. Any counsel not registered for electronic notice of filing with the Clerk of

Court will be mailed a copy of the above and foregoing, First Class U.S. Mail, postage prepaid and

properly addressed.


                                                      /s/ Trang Q. Tran
                                                      Trang Q. Tran




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